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     In The United States Court of Federal Claims
                                Nos. 12-863C and 12-883C

                                 (Filed: February 1, 2013)
                                        __________

  INSIGHT SYSTEMS CORP., and
  CENTERSCOPE TECHNOLOGIES, INC.,

                              Plaintiffs,

                       v.

  THE UNITED STATES,

                              Defendant.

                                            __________

                                             ORDER
                                            __________

        On January 25, 2013, plaintiffs CenterScope Technologies, Inc. and Insight
Systems Corp. each filed a motion to supplement the administrative record. On January
30, 2013, defendant filed an objection to plaintiffs’ motions. The court hereby GRANTS
plaintiffs’ motions to supplement the administrative record.1

       IT IS SO ORDERED.




                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge




       1
         The court acknowledges defendant’s argument that portions of the supplemental
materials submitted by plaintiffs contain legal conclusions, and the court will make a
determination with respect to that argument at the appropriate time.
